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Attorneys for plaintiff Oak Financial Group, Inc.

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
OAK FINANCIAL GROUP, INC.,
                                                                       Civil Action No.:

                                   Plaintiff,

                 -v-

INFINITY Q DIVERSIFIED ALPHA FUND, TRUST
FOR ADVISED PORTFOLIOS, INFINITY Q                                     COMPLAINT
CAPITAL MANAGEMENT LLC, CHRISTOPHER
E. KASHMERICK, JOHN C. CHRYSTAL, ALBERT
J. DIULIO, S.J., HARRY E. RESIS, RUSSELL B.
SIMON, STEVEN J. JENSEN, JAMES VELISSARIS,                             JURY TRIAL DEMANDED
LEONARD POTTER, SCOTT LINDELL, QASAR
DISTRIBUTORS, LLC, EISNERAMPER LLP,
BONDERMAN FAMILY LIMITED PARTNERSHIP,
LP, and INFINITY Q MANAGEMENT EQUITY, LLC,

                                    Defendants.
-------------------------------------------------------------------x

        Plaintiff Oak Financial Group, Inc., by its attorneys, Rosenfeld & Kaplan, LLP, for its

Complaint against defendants Infinity Q Diversified Alpha Fund, Trust for Advised Portfolios,

Infinity Q Capital Management LLC, Christopher E. Kashmerick, John C. Chrystal, Albert J.

DiUlio, S.J., Harry E. Resis, Russell B. Simon, Steven J. Jensen, James Velissaris, Leonard

Potter, Scott Lindell, Quasar Distributors, LLC, EisnerAmper LLP, Bonderman Family Limited

Partnership, LP, and Infinity Q Management Equity, LLC, alleges as follows:
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                                  NATURE OF THE ACTION

          1.   This is a federal securities action brought by plaintiff Oak Financial Group, Inc.

(“plaintiff” or “Oak Financial”), an investment advisor which, on behalf of its clients, purchased

the Infinity Q Diversified Alpha Fund Institutional Class shares (IQDNX) between October 27,

2015 and August, 2020. Plaintiff seeks to recover compensable damages caused by the

defendants’ violations of the federal securities laws, as well as under the common law of the

State of New York.

                                 JURISDICTION AND VENUE

          2.   The claims asserted herein arise under and pursuant to §§ 10-b and 20(a) of the

Securities Exchange Act of 1934, as amended (the “Exchange Act”), §§ 11, 12(a), and 15 of the

Securities Act of 1933, as amended (the “Securities Act”), and the common law of the State of

New York.

       3.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331.

       4.      Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b) as the

alleged misstatements occurred and subsequent damages took place within this judicial district.

          5.   In connection with the acts, conduct and other wrongs alleged in this Complaint,

the defendants, directly or indirectly, used the means and instrumentalities of interstate

commerce, including but not limited to, the United States mail, interstate telephone

communications and the facilities of the national securities exchange.

                                            PARTIES

          6.   Plaintiff Oak Financial, a Connecticut corporation, is a SEC registered investment

advisor that, among other things, provides investment management services to its clients. Oak



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Financial brings this lawsuit to recover damages sustained by a group of its clients holding 257

accounts (the “Account Holders”), on whose behalf Oak Financial invested in Infinity Q

Diversified Alpha Fund.

        7.      Oak Financial entered into an advisory agreement with each of the Account

Holders, pursuant to which they granted Oak Financial authority to manage their funds through

Charles Schwab accounts in the Account Holders’ names, and to invest those funds and make

trades at their full discretion.

        8.      Each of the Account Holders has assigned to Oak Financial their right, title and

interest in any claim of any nature whatsoever related to or arising out of their purchase of any

shares or ownership of any interest in the Infinity Q Diversified Alpha Fund, as well as any and

all rights to initiate, pursue, prosecute, collect, settle, and compromise any suits, actions,

proceedings, and/or claims of any nature whatsoever arising out of or in connection with their

investment in Infinity Q Diversified Alpha Fund.

        9.      Defendant Infinity Q Diversified Alpha Fund (the “Fund”) is a diversified open-

end investment company. The Fund transacts business in New York.

        10.     Defendant Trust for Advised Portfolios (the “Trust”), the Fund’s registrant, is a

Delaware statutory trust registered with the SEC under the Investment Company Act of 1940

(the “ICA”) as an open-end management investment company. The Trust has 18 series of

shares, including the Fund. The Trust is run by a Board of Trustees (the “Board”). The Trust

transacts business in New York.

        11.     Defendant Infinity Q Capital Management LLC (“Infinity Q” or the “Adviser”), is

the Fund’s investment adviser. Infinity Q is registered as an investment adviser under the

Investment Advisers Act of 1940. Infinity Q is retained by the Fund under an investment



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advisory agreement to act as the Fund’s Adviser, subject to the oversight of the Fund’s Board of

Trustees, in exchange for a monthly management fee. Infinity Q is a Delaware limited liability

company with its principal place of business at 888 7th Ave, Suite 3700, New York, NY 10106.

        12.    Defendant Christopher E. Kashmerick (“Kashmerick”) is and was, at all relevant

times, the Chairman of the Board of the Trust, as well as the Trust’s President and Principal

Executive Officer. Kashmerick signed the Prospectuses. Kashmerick transacts business in New

York.

        13.    Defendant John C. Chrystal (“Chrystal”) is and was, at all relevant times, a

Trustee of the Board. Chrystal signed the Prospectuses. Chrystal transacts business in New

York.

        14.    Defendant Albert J. DiUlio, S.J. (“DiUlio”) is and was, at all relevant times, a

Trustee of the Board. DiUlio signed the Prosectuses. DiUlio transacts business in New York.

        15.    Defendant Harry E. Resis (“Resis”) is and was, at all relevant times, a Trustee of

the Board. Resis signed the Prospectuses. Resis resides in and/or transacts business in New

York.

        16.    Defendant Russell B. Simon (“Simon”) is and was, at all relevant times,

Treasurer and Principal Financial Officer of the Trust. Simon signed the Prospectuses. Simon

transacts business in New York.

        17.    Defendant Steven J. Jensen (“Jensen”) is and was, at all relevant times, Vice

President and Chief Compliance and AML Officer of the Trust. Jensen transacts business in

New York.




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        18.    Defendant James Velissaris (“Velissaris”) is and was, at all relevant times, a

Director of the Adviser, and until February, 20, 2021, was its Chief Investment Officer (“CIO”).

Velissaris resides in and/or transacts business in New York.

        19.    Defendant Leonard Potter (“Potter”) is and was, at all relevant times, the Chief

Executive Officer of the Adviser. Potter resides in and/or transacts business in New York.

        20.    Defendant Scott Lindell (“Lindell”) is the Chief Risk Officer of Infinity Q.

Lindell resides in and/or transacts business in New York.

        21.    Defendants Kashmerick, Chrystal, DiUlio, Resis, Simon, Jensen, Velissaris

Potter, and Lindell shall be collectively referred to as the “Individual Defendants.” As Trustees,

directors and/or executive officers of the Trust and/or Adviser, the Individual Defendants

participated in the solicitation and sale of Fund shares to investors in the Fund for their own

benefit and the benefit of Infinity Q.

        22.    Defendant Quasar Distributors, LLC (“Quasar” or “Underwriter”), is and was, at

all relevant times, the principal underwriter for the Fund. Quasar is a registered broker-dealer and

a member of the Financial Industry Regulatory Authority. Quasar has executed an agreement

with the Trust for the sale of Fund shares to the public, and received fees, commissions and/or

profits from these sales. Quasar’s failure to conduct an adequate due diligence investigation was

a substantial factor leading to the harm complained of herein. Quasar transacts business in New

York.

        23.    Defendant EisnerAmper LLP (“EisnerAmper” or the “Auditor”) is and was, at all

relevant times, the Fund’s auditor. EisnerAmper audited the Fund’s consolidated statement of

assets and liabilities which was filed annually with the SEC in the Fund’s Annual Report.

EisnerAmper transacts business in New York.



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       24.      Defendant Bonderman Family Limited Partnership, LP (“Bonderman”) owns

more than 25% of the Adviser and is a control person of the Adviser. Bonderman resides in

and/or transacts business in New York.

       25.      Defendant Infinity Q Management Equity, LLC (“IQME”) owns more than 25%

of the Adviser and is a control person of the Adviser. IQME resides in and/or transacts business

in New York.

                                  FACTUAL BACKGROUND

       26.      The Fund is registered as an investment company under the ICA. The Fund

commenced operations on September 30, 2014 and began offering two share classes, Class A

and Class I. Those offerings are required to be registered under the Securities Act.

       27.      Defendants issued and distributed the following SEC filings, offering materials,

and marketing materials, among other documents and materials, in connection with the

continuous offering of the Fund’s shares, including to Oak Financial:

       a) Fund Registration Statements filed with the SEC with effective dates of September

             26, 2014, December 31, 2015, December 31, 2016, February 1, 2018, December 31,

             2018, and December 31, 2019 (collectively, the “Registration Statements”);

       b) Fund Prospectuses appended to the Registration Statements dated September 26,

             2014, December 31, 2015, December 31, 2016, February 1, 2018, December 31,

             2018, and December 31, 2019 (collectively, the “Prospectuses”);

       c) Fund Summary Prospectuses dated September 26, 2014, December 31, 2015,

             December 31, 2016, February 1, 2018, December 31, 2018, and December 31, 2019

             (collectively, the “Summary Prospectuses”);

       d) Fund Statements of Additional Information (“SAIs”) and SAI Supplements;



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        e) Certified Shareholder Reports of Registered Management Investment Companies

              (Form N-CSR), filed with the SEC at the end of each fiscal year (August 31) starting

              in 2015 by Infinity Q (the “Annual Reports”);

        f) Periodic “Investor Insights” providing market commentary;

        g) Periodic “Volatility Updates”; and

        h) Periodic “Risk Reports”.

        28.      As the Account Holders’ investment advisor, Oak Financial read, analyzed and

relied upon the information set forth in these filings and offering and marketing materials in

making decisions as to whether and how much to invest in the Fund on behalf of the Account

Holders, as well as whether to retain or sell the Account Holder s’ shares in the Fund.

        29.      As set forth in the Fund’s filings and marketing materials, the Fund’s stated

investment objective is to generate positive absolute returns. In its offering and marketing

materials and filings, the Fund further states that it is generally intended to provide exposure to

strategies often referred to as “alternative” or “absolute return” strategies, and that it implements

these strategies by, among other things, investing globally either directly in, or through total

return swaps on, a broad range of instruments, including, but not limited to, equities, bonds

(including but not limited to high-yield or “junk” bonds), currencies, commodities, MLPs, credit

derivatives, convertible securities, futures, forwards, options and swaps.

        30.      Total return swaps are contracts in which parties agree to exchange sums

equivalent to the income streams produced by specified assets (hereinafter “swap contracts”).

        31.      Mutual funds like the Fund must value their assets every day to compute the

fund’s net asset value (“NAV”). NAV represents a fund’s per share market value. It is derived

by dividing the total value of all the cash and securities in a fund’s portfolio, less any liabilities,



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by the number of shares outstanding. NAV computation is undertaken at the end of each trading

day and is a critical duty and function of a mutual fund.

       32.     During the relevant time period, Infinity Q used models provided by third-party

pricing services to determine the value of certain of the Fund’s swap contracts for purposes of

calculating its NAV.

       33.     Beginning in October, 2015 and continuing through August, 2020, in reliance on

the representations set forth in the SEC filings and marketing and offering materials, including

representations as to the Fund’s NAV, valuations of its assets, manner of future valuation of

assets and calculation of the Fund’s NAV, and risk and volatility reports, Oak Financial began

purchasing millions of dollars’ worth of Infinity Q Diversified Alpha Fund Institutional Class

shares (IQDNX) on behalf of the Account Holders.

       34.     The Account Holders collectively currently hold shares purchased on their behalf

by Oak Financial that were reportedly worth approximately $28,888,962.08 as of February 18,

2021, the last day on which the Fund calculated a net asset value; however, as set forth below,

the real value is unknown.

       35.     On or about February 22, 2021, in a filing with the SEC, the Fund, the Trust, and

Infinity Q admitted that Infinity Q’s Chief Investment Officer, defendant Velissaris, had been

improperly “adjusting certain parameters” within third-party pricing models that affected the

valuation of swap contracts owned by the Fund.

       36.     As a result of this disclosure, it became clear that valuations of the Fund’s assets

that had been reported in SEC filings, as well as in the Fund’s daily share pricing (NAV) had

been inaccurate and unreliable for some time.




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       37.     It has further become clear that the defendants repeatedly made materially false

and misleading statements in SEC filings, offering materials, marketing materials and in

communications with Oak Financial regarding: (1) the Fund’s present and past NAV; (2) the

Fund’s valuation procedures; (3) the risks to investors of investing in Fund shares; and (4) the

Fund’s risk oversight, as detailed below.

               DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

       38.     The defendants continuously falsely stated historical NAV values because the

value of a material portion of its assets were admittedly intentionally manipulated and overstated.

These false figures were then incorporated and repeated in the Registration Statements,

Prospectuses, Annual Reports, and other filings and marketing materials.

       39.     Each of the Prospectuses also falsely detailed how the Fund calculates its NAV.

Specifically, the Prospectuses stated, in pertinent part:

               NAV is calculated by adding the value of all securities and other assets
               attributable to the Fund (including interest and dividends accrued, but not yet
               received), then subtracting liabilities attributable to the Fund (including accrued
               expenses).

               Generally, the Fund’s investments are valued at market value or, in the absence of
               a market value, at fair value as determined in good faith by the Fund’s Adviser
               with oversight by the Trust’s Valuation Committee pursuant to procedures
               approved by or under the direction of the Board. Pursuant to those procedures,
               the Adviser considers, among other things: (1) the last sales price on the securities
               exchange, if any, on which a security is primarily traded; (2) the mean between
               the bid and asked prices; (3) price quotations from an approved pricing service;
               and (4) other factors as necessary to determine a fair value under certain
               circumstances.

These statements were false and misleading because the daily NAV did not accurately reflect the

true value of swap contracts held by the Fund and the defendants did not attempt in good faith to

determine the fair value of swap contracts, but instead incorporated false data.

       40.      The Prospectuses further represent as to the pricing of shares:

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                 Shares of the Fund are sold at NAV per share which is calculated as of the close
                 of regular trading (generally, 4:00 p.m., Eastern Time) on each day that the New
                 York Stock Exchange (“NYSE”) is open for unrestricted business. However, the
                 Fund’s NAV may be calculated earlier if trading on the NYSE is restricted or as
                 permitted by the SEC. The NYSE is closed on weekends and most national
                 holidays, including New Year’s Day, Martin Luther King, Jr. Day, Washington’s
                 Birthday/Presidents’ Day, Good Friday, Memorial Day, Independence Day, Labor
                 Day, Thanksgiving Day and Christmas Day. The NAV will not be calculated on
                 days when the NYSE is closed for trading.

                 Purchase and redemption requests are priced based on the next NAV per share
                 calculated after receipt of such requests and any applicable sales charge. The
                 NAV is the value of the Fund’s securities, cash and other assets, minus all
                 expenses and liabilities (assets – liabilities = NAV). NAV per share is determined
                 by dividing NAV by the number of shares outstanding (NAV/ # of shares = NAV
                 per share). The NAV takes into account the expenses and fees of the Fund,
                 including management and administration fees, which are accrued daily.

                 In calculating the NAV, portfolio securities are valued using current market
                 values or official closing prices, if available. Each security owned by the Fund
                 that is listed on a securities exchange is valued at its last sale price on that
                 exchange on the date as of which assets are valued. Where the security is listed on
                 more than one exchange, the Fund will use the price of the exchange that the Fund
                 generally considers to be the principal exchange on which the security is traded.

                 When market quotations are not readily available, a security or other asset is
                 valued at its fair value as determined under procedures approved by the Board.
                 These fair value procedures will also be used to price a security when corporate
                 events, events in the securities market and/or world events cause the Adviser to
                 believe that a security’s last sale price may not reflect its actual market value. The
                 intended effect of using fair value pricing procedures is to ensure that the Fund is
                 accurately priced. The Board will regularly evaluate whether the Fund’s fair
                 valuation pricing procedures continue to be appropriate in light of the specific
                 circumstances of the Fund and the quality of prices obtained through their
                 application by the Trust’s valuation committee.

           41.   The description of the pricing of shares is also false and misleading in that the

purported fair value pricing procedures were not designed to ensure the Fund is accurately

priced, nor does it account for the manipulation of the third-party valuation models.

           42.   The Prospectuses each also misrepresented the role of the Valuation Committee,

stating:



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               The Board has delegated day-to-day valuation issues to a Valuation Committee
               that is comprised of the Trust’s President, Treasurer and Assistant Treasurer and
               is overseen by the Trustees. The function of the Valuation Committee is to review
               and oversee each Adviser’s valuation of securities held by any series of the Trust
               for which current and reliable market quotations are not readily available. Such
               securities are valued at their respective fair values as determined in good faith by
               the Valuation Committee, and the actions of the Valuation Committee are
               subsequently reviewed and ratified by the Board. The Valuation Committee meets
               as needed.

Each Prospectus goes on to disclose the number of times the Valuation Committee met during

the fiscal year with respect to the Fund.

        43.    The statements in the Prospectuses as to the Valuation Committee were false and

misleading because the Valuation Committee was not taking the necessary steps to “review and

oversee each Adviser’s valuation of securities” and was not ensuring that the Fund’s assets were

properly valued.

        44.    The Prospectuses and other offering materials were also misleading and

incomplete with respect to the risk disclosures. While the Prospectuses provided boilerplate risk

disclosures, including a risks associated with “models and data” and “valuation risk,” the

materials failed to disclose any risk that the valuations could be based, in part, on third-party

valuation models which were intentionally manipulated.

        45.    The Prospectuses and other offering materials also contain false and misleading

statements as to the oversight of the Fund and attempts to minimize risk, providing, in relevant

part:

        The Board has general oversight responsibility with respect to the operation of the Trust
        and the Fund. The Board has engaged the Adviser to manage the Fund and is responsible
        for overseeing the Adviser and other service providers to the Trust and the Fund in
        accordance with the provisions of the 1940 Act and other applicable laws. The Board has
        established an Audit Committee to assist the Board in performing it oversight
        responsibilities.
                                             …



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       Through its direct oversight role, and indirectly through the Audit Committee, and
       officers of the Fund and service providers, the Board performs a risk oversight function
       for the Fund. To effectively perform its risk oversight function, the Board, among other
       things, performs the following activities: receives and reviews reports related to the
       performance and operations of the Fund; reviews and approves, as applicable, the
       compliance policies and procedures of the Fund; approves the Fund’s principal
       investment policies; adopts policies and procedures designed to deter market timing;
       meets with representatives of various service providers, including the Adviser, to review
       and discuss the activities of the Fund and to provide direction with respect thereto; and
       appoints a chief compliance officer of the Fund who oversees the implementation and
       testing of the Fund’s compliance program and reports to the Board regarding compliance
       matters for the Fund and its service providers.

       The Trust has an Audit Committee, which plays a significant role in the risk oversight of
       the Fund as it meets annually with the auditors of the Fund. The Board also meets
       quarterly with the Fund’s chief compliance officer.

       46.     Such statements were false and misleading in that the Board, the Adviser, and the

Audit Committee were not, in fact, properly overseeing the operations of the Fund to minimize

risk and instead were employing valuation methods which drastically increased risks to

investors.

       47.     Given the admittedly manipulated and overstated valuations of swap contracts,

statements as to the Fund’s assets, net assets, and NAV set forth in each of the Annual Reports

(each of which was audited by the Auditor) were false and misleading.

       48.     The Notes to the Consolidated Financial Statements set forth in each of the

Annual Reports also contain false and misleading statements. The Notes provide that the

statements have been prepared “in conformity with accounting principles generally accepted in

the United States of America (“GAAP”) for investment companies.”

       49.     With respect to “Securities Valuation,” the Notes to the Consolidated Financial

Statements for the year ended August 31, 2016 state that:

       The Fund follows a fair value hierarchy that distinguishes between market data
       obtained from independent sources (observable inputs) and the Fund’s own market
       assumptions (unobservable inputs). The inputs or methodology used in determining the

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      value of each Fund’s investments are not necessarily an indication of the risk associated
      with investing in those securities.

      Various inputs are used in determining the value of the Fund’s investments. These inputs
      are summarized into three broad categories as defined below:

      Level 1 - Quoted prices in active markets for identical securities. An active market for a
      security is a market in which transactions occur with sufficient frequency and volume to
      provide pricing information on an ongoing basis. A quoted price in an active market
      provides the most reliable evidence of fair value.

      Level 2 - Observable inputs other than quoted prices included in level 1 that are
      observable for the asset or liability either directly or indirectly. These inputs may include
      quoted prices for the identical instrument on an inactive market, prices for similar
      instruments, interest rates, prepayment speeds, credit risk, yield curves, default rates, and
      similar data.

      Level 3 - Significant unobservable inputs, including the Fund's own assumptions in
      determining fair value of investments

                                     ….

      Other financial derivative instruments, such as foreign currency contracts, options
      contracts, futures, or swap agreements, derive their value from underlying asset prices,
      indices, reference rates, and other inputs or a combination of these factors. Depending on
      the product and the terms of the transaction, the value of the derivative contracts can
      be estimated by the Adviser or a pricing service using model pricing tailored to the type
      of security held. The pricing models use various inputs that are observed from actively
      quoted markets such as issuer details, indices, spreads, interest rates, curves, implied
      volatility and exchange rates.

                                     …

      The Fund makes dispersion investments using volatility and variance swaps. With the
      exception of dispersion trades, single stock volatility and variance swaps rarely trade. As
      a result, the Adviser deems these positions to be illiquid and classifies these positions as
      Level 3 in the fair value hierarchy. The Adviser uses model pricing to calculate the fair
      volatility level for each leg of the dispersion trade. The Adviser uses quotes from a
      pricing service and brokers to estimate implied volatility levels as an input to these
      models. A 1% change in the volatility spread could change the value by up to 251%,
      which, depending on the direction of the change, could either increase or decrease the
      position’s value.

      The Fund makes cross-asset correlation investments using correlation and covariance
      swaps. The Adviser deems these positions to be illiquid and classifies these positions as
      Level 3 in the fair value hierarchy. The Adviser uses a third party calculation agent to

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       value these positions. The local volatility model is used to calculate the fair correlation
       level for correlation swaps. Quotes from a pricing service are used to estimate the
       implied correlation levels as an input to these models. A 1% change in the implied
       correlation could change the value by up to 10%, which, depending on the direction of
       the change, could either increase or decrease the position’s value.

       The inputs or methodology used for valuing securities are not necessarily an indication of
       the risk associated with investing in those securities.

(emphasis added). The Notes to Consolidated Financial Statements for the following years

contain substantially similar statements.

       50.     These representations are misleading in that they fail to disclose the full picture of

the valuation of the swap contracts, nor do they account for the increased risks associated with

the misstated valuations of the swap contracts.

       51.     In addition, Oak Financial met and/or communicated quartlerly with Velissaris

and Lindell, amongst others, at which times they repeated the misrepresentations and misleading

statements as to the valuation and risk of the Fund, including representations that the Fund was

properly valued, and that the value of the shares was not volatile or subject to valuation swings.

Such representations concealed and misrepresentated the misstated valuations of the swap

contracts and the risks associated with such misstated valuations.

  DEFENDANTS DISCLOSE THAT ITS VALUATION DATA WAS MANIPULATED

       52.     On December 30, 2020, the Fund filed a supplemental Prospectus and notice with

the SEC, which stated as follows:

               Effective as of the close of business on December 31, 2020, the Infinity Q
               Diversified Alpha Fund (the “Infinity Q Fund”) is closed to all new investment,
               including through dividend reinvestment, and the Infinity Q Fund’s transfer agent
               will not accept orders for purchases of shares of the Infinity Q Fund from either
               current Infinity Q Fund shareholders or new investors. Current shareholders,
               however, may continue to redeem Infinity Q Fund shares. If all shares of the
               Infinity Q Fund held in an existing account are redeemed, the shareholder’s
               account will be closed.



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       53.     On or around February 22, 2021, Infinity Q filed a request with the SEC for an

order pursuant to Section 22(e)(3) of the Investment Company Act of 1940 suspending the right

of redemption with respect to shares of the Fund, effective February 19, 2021, because of Infinity

Q’s inability to determine NAV. The request also stated that the Fund was liquidating its

portfolio and distributing its assets to shareholders.

       54.     As part of the “justification” for the request, the Fund admitted that Infinity Q’s

CIO, Velissaris, had been “adjusting certain parameters within the third-party pricing model that

affected the valuation” of swap contracts.

       55.     Infinity Q further admitted it was unable to conclude that these adjustments were

reasonable, and, further, it was unable to verify that the values it had previously determined for

the swap contracts were reflective of fair value.

       56.     The filing went on to state that:

       Infinity Q also informed the Fund that it would not be able to calculate a fair value for
       any of the Swaps in sufficient time to calculate an accurate NAV for at least several days.
       Infinity Q and the Fund immediately began the effort to value these Swap positions
       accurately to enable the Fund to calculate an NAV, which effort includes the retention of
       an independent valuation expert. However, Infinity Q and the Fund currently believe that
       establishing and verifying those alternative methods may take several days or weeks.
       Infinity Q and the Fund are also determining whether the fair values calculated for
       positions other than the Swaps are reliable, and the extent of the impact on historical
       valuations. As a result, the Fund was unable to calculate an NAV on February 19, 2021,
       and it is uncertain when the Fund will be able to calculate an NAV that would enable it to
       satisfy requests for redemptions of Fund shares

       57.     The Fund did not calculate an NAV on February 19, 2021, nor any day thereafter

until the filing of this Complaint, and it is unknown when the Fund will be able to calculate an

NAV.

       58.     On February 22, 2021, due to Fund’s inability to calculate its NAV, and on the

Fund’s request, the SEC suspended redemptions of the Fund indefinitely.



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        59.    As reported, beginning on March 1, 2021, the Board began working to liquidate

all assets held by the Fund that were not already in cash or cash equivalents as of February 22,

2021.

        60.    On March 26, 2021, the Fund reported that as of March 19, 2021, the Fund’s

portfolio has been entirely liquidated. The Fund reported that the liquidation of the Fund’s

portfolio resulted in the Fund holding $1,249,485,022 in cash and cash equivalents as of March

25th, which is being held by the Fund’s custodian. The Fund stated that this total does not include

outstanding close-out payments from certain derivatives counterparties, but that such amounts

are not expected to materially increase the Fund’s cash holdings.

        61.    The Fund further reported that:

        On February 18, 2021, the last day on which the Fund calculated a net asset value
        (“NAV”), the Fund’s stated NAV was $1,727,194,948.50, compared to an asset value
        (before considering liabilities and other deductions necessary to calculate an NAV) as of
        March 25 of $1,249,485,022. As discussed below, the Fund is in the process of
        reevaluating its historical valuations of variance swaps and certain other holdings, which
        may lead to a reduction in the NAV for February 18 and earlier periods. Subject to that
        possible revaluation, the decrease in asset value assigned to the portfolio on February 18
        to the March 25 asset value of $1,249,485,022 is currently attributable primarily to the
        value realized on liquidation of the Fund’s bilateral OTC positions compared to their
        stated value on February 18. These positions included variance swaps, and other OTC
        swaps and options positions, that represented approximately 18% and 11%, respectively,
        of the Fund’s NAV on February 18, 2021.

        62.    The Fund further advised that it is unable to begin distributing its assets until it

has completed the NAV analysis and potential restatement, and until it has set a reserve.

        63.    Oak Financial and the Account Holders are now therefore left waiting for an

unknown amount of time to learn what their investments in the Fund are actually worth and what

they will receive at liquidation.




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                                         COUNT I
  (Violation of Section 10(b) of The Exchange Act and Rule 10b-5 Against The Fund, The
    Trust, The Adviser, The Individual Defendants, The Underwriter and The Auditor)

        64.     Plaintiff repeats and realleges each and every allegation set forth above as if fully

set forth herein.

        65.     This Count is asserted defendants the Fund, the Trust, the Adviser, the Individual

Defendants, the Underwriter, and the Auditor, and is based upon Section 10(b) of the Exchange

Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        66.     During the relevant time period, the Fund, the Trust, the Adviser, the Individual

Defendants, the Underwriter, and the Auditor, individually and in concert, directly or indirectly,

disseminated or approved the false statements specified above in the Prospectuses, Annual

Reports, and other filings, marketing materials and communications, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

        67.     The Fund, the Trust, the Adviser, the Individual Defendants, the Underwriter, and

the Auditor violated §10(b) of the 1934 Act and Rule 10b-5 in that they: employed devices,

schemes and artifices to defraud; made untrue statements of material facts or omitted to state

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; and/or engaged in acts, practices and a course of

business that operated as a fraud or deceit upon Oak Financial in connection with its purchases of

the Fund’s securities on behalf of the Account Holders.

        68.     The Fund, the Trust, the Adviser, the Individual Defendants, the Underwriter, and

the Auditor acted with scienter in that they knew that the public documents and statements issued



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or disseminated in the name of the Trust were materially false and misleading; knew that such

statements or documents would be issued or disseminated to the investing public, including Oak

Financial; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws.

These defendants, by virtue of their receipt of information reflecting the true facts of the Fund,

their control over, and/or receipt and/or modification of the Trust’s allegedly materially

misleading statements, and/or their associations with the Fund which made them privy to

confidential proprietary information concerning the Fund, participated in the fraudulent scheme

alleged herein.

       69.        Individual Defendants, who are the senior officers and/or directors, had actual

knowledge of the material omissions and/or the falsity of the material statements set forth above,

and intended to deceive Oak Financial and other investors, or, in the alternative, acted with

reckless disregard for the truth when they failed to ascertain and disclose the true facts in the

statements made by them or other personnel to members of the investing public, including Oak

Financial.

       70.        As a result of the foregoing, the market price of the Fund’s securities was

artificially inflated during the relevant time period that Oak Financial purchased shares on behalf

of the Account Holders. Oak Financial relied on the statements described above and/or the

integrity of the market price of the Fund’s securities during the relevant time period in

purchasing the Fund’s securities on behalf of the Account Holders at prices that were artificially

inflated as a result of the false and misleading statements of the Fund, the Trust, the Adviser, the

Individual Defendants, the Underwriter, and the Auditor.




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       71.      Had Oak Financial been aware that the market price of the Fund’s securities had

been artificially and falsely inflated by the defendants’ misleading statements and by the material

adverse information which the defendants did not disclose and that the Fund was not going to

follow the valuation procedures which it represented would be utilized, it would not have

purchased the Fund’s securities on behalf of the Account Holders at the artificially inflated prices

that they did, or at all, and would not have retained such securities.

       72.     As a result of the wrongful conduct alleged herein, Oak Financial and the Account

Holders have suffered damages in an amount to be established at trial.

       73.     By reason of the foregoing, the Fund, the Trust, the Adviser, the Individual

Defendants, the Underwriter, and the Auditor have violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder and are liable to Oak Financial for the substantial

damages which were suffered in connection with its purchases of the Fund’s securities on behalf

of the Account Holders.

                                         COUNT II
   (Violation of Section 20(a) of The Exchange Act Against The Adviser, The Individual
                            Defendants, Bonderman and IQME)

       74.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       75.     During the relevant period, the Adviser managed and controlled the business

affairs of the Fund and was a control person of the Fund.

       76.     During the relevant period, the Individual Defendants participated in the operation

and management of the Trust and Infinity Q, and conducted and participated, directly and

indirectly, in the conduct of the Trust and Infinity Q’s business affairs. Because of their senior




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positions, they knew the adverse non-public information regarding the Trust and Infinity Q’s

business practices.

       77.     As officers and/or directors, the Individual Defendants had a duty to disseminate

accurate and truthful information with respect to the Fund’s financial condition and results of

operations, and to correct promptly any public statements issued by the Trust or Infinity Q which

had become materially false or misleading.

       78.     Bonderman and IQME, by virtue of their ownership of over 25% of the Adviser,

are each a control person of the Adviser.

       79.     Because of their positions of control and authority, the Adviser, Individual

Defendants, Bonderman and IQME were able to, and did, control the contents of the various

reports, press releases and public filings which the Trust and Infinity Q disseminated in the

marketplace. The Adviser, Individual Defendants, Bonderman, and IQME exercised their power

and authority to cause the Trust and Infinity Q to engage in the wrongful acts complained of

herein. The Adviser, Individual Defendants, Bonderman and IQME therefore, were “controlling

persons” of the Trust and Infinity Q within the meaning of Section 20(a) of the Exchange Act.

In this capacity, they participated in the unlawful conduct alleged which artificially inflated the

market price of the Fund’s securities.

       80.     Each of the Adviser, Individual Defendants, Bonderman and IQME, therefore,

acted as a controlling person of the Trust and Infinity Q. By reason of their senior management

positions and/or being directors, and/or their ability to control the Trust and Infinity Q, each of

the Adviser, Individual Defendants, Bonderman, and IQME had the power to direct the actions

of, and exercised the same to cause, the Trust and Infinity Q to engage in the unlawful acts and

conduct complained of herein. Each of the Adviser, Individual Defendants, Bonderman, and



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IQME exercised control over the general operations of the Trust and Infinity Q and possessed the

power to control the specific activities which comprise the primary violations about which

plaintiff complains.

        81.       By reason of the above conduct, the Adviser, Individual Defendants, Bonderman,

and IQME are liable to plaintiff pursuant to Section 20(a) of the Exchange Act, in an amount to

be determined at trial.

                                         COUNT III
  (Violation of § 11 of the Securities Act Against The Fund, The Trust, The Adviser, The
                  Individual Defendants, the Underwriter and the Auditor)

        82.       Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        83.       The defendants named herein were sellers and offerors and/or solicitors of

purchasers of the shares of the Fund offered pursuant to the Registration Statements and the

Prospectuses appended thereto.

        84.       The Prospectuses appended to the Registration Statements were inaccurate and

misleading, contained untrue statements of material fact, omitted to state other facts necessary to

make the statements made not misleading, and omitted to state material facts required to be

stated therein.

        85.       The defendants named in this Count are strictly liable to plaintiff for the

misstatements and omissions in the Prospectuses.

        86.       None of the defendants named herein made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the Prospectuses

were true and without omissions of any material facts and were not misleading.




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       87.     By reasons of the conduct herein alleged, each defendant violated, and/or

controlled a person who violated, § 11 of the Securities Act.

       88.     Plaintiff acquired shares of the Fund on behalf of the Account Holders pursuant to

the Prospectuses. Plaintiff and its clients have sustained damages as a result of the violation, as

the value of the shares of the Fund is currently unknown but has declined substantially

subsequent to and due to discovery of defendants’ violations.

       89.     As a result of the wrongful conduct alleged herein, Oak Financial and the Account

Holders have suffered damages in an amount to be established at trial.

       90.     By reason of the foregoing, the Fund, the Trust, the Adviser, the Individual

Defendants, the Underwriter, and the Auditor have violated § 11 of the Securities Act and are

liable to Oak Financial for the substantial damages which were suffered in connection with its

purchases of the Fund’s securities on behalf of the Account Holders.

                                          COUNT IV
(Violation of §12(a)(2) of the Securities Act Against The Fund, The Trust, The Adviser, The
                  Individual Defendants, the Underwriter and the Auditor)

       91.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       92.     The defendants named herein were sellers and offerors and/or solicitors of

purchasers of the shares of the Fund offered pursuant to the Registration Statements,

Prospectuses and other offering and marketing materials and communications.

       93.     The Prospectuses contained untrue statements of material fact, omitted to state

other facts necessary to make the statements made not misleading, and omitted to state material

facts required to be stated therein. The actions of solicitation included participating in the




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preparation of the false and misleading Prospectuses and participating in marketing the shares of

the Fund to investors, including Oak Financial on behalf of the Account Holders.

       94.     Each of the defendants named herein owed to the purchasers of Fund shares,

including the plaintiff on behalf of the Account Holders, the duty to make a reasonable and

diligent investigation of the statements contained in the Prospectuses and corresponding

supplements and amendments to ensure that such statements were true and that there was no

omission to state a material fact required to be stated in order to make the statements contained

therein not misleading.

       95.     Defendants, in the exercise of reasonable care, should have known of the

misstatements and omissions contained in the Prospectuses as set forth above.

       96.     Plaintiff purchased shares of the Fund on behalf of the Account Holders pursuant

to the defective Prospectuses. Plaintiff did not know, nor in the exercise of reasonable diligence

could it have known, of the falsehoods and omissions contained in the Prospectuses.

       97.     By reason of the conduct alleged herein, defendants violated, and/or controlled

person who violated, §12(a)(2) of the Securities Act.

       98.     By reason of the foregoing, plaintiff has the right to recover the consideration paid

for the shares of the Fund purchased on behalf of the Account Holders, together with interest

thereon.

                                          COUNT V
    (Violation of § 15 of the Securities Act Against The Adviser, Individual Defendants,
                                   Bonderman and IQME)

       99.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.




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         100.   The Adviser managed and controlled the business affairs of the Fund and was a

control person of the Fund.

         101.   Each of the Individual Defendants was a control person of the Fund, Trust, and/or

Adviser by virtue of his position as a Director, Trustee and/or senior officer of the Fund, Trust or

Adviser.

         102.   Bonderman and IQME also were control persons of the Adviser.

         103.   By reason of such conduct, the defendants named in this Count are liable as

control persons pursuant to § 15 of the Securities Act.

         104.   Each of the defendants named herein was also a culpable participant in the

violations of §§ 11 and 12(a)(2) of the Securities Act alleged in Counts III and IV above, based

on their having signed the Registration Statements and/or having otherwise participated in the

process which allowed sales of shares of the Fund to be successfully completed.

         105.   By reason of such conduct, the defendants named in this Count are liable to

plaintiff pursuant to § 15 of the Securities Act for the damages sustained by plaintiff as a result

of the violations of §§ 11 and 12(a)(2) of the Securities Act, in an amount to be determined at

trial.

                                      COUNT VI
                         (Common Law Fraud Against All Defendants)

         106.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

         107.   Defendants, individually and in concert, directly or indirectly, disseminated or

approved the false and misleading statements specified above in the Prospectuses, Annual

Reports, and other filings, marketing materials and communications to the plaintiff and other

investors.

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       108.    Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of the Trust were materially false and misleading;

knew that such statements or documents would be issued or disseminated to the investing public,

including Oak Financial; and knowingly and substantially participated, or acquiesced in the

issuance or dissemination of such statements or documents. These defendants, by virtue of their

receipt of information reflecting the true facts of the Fund, their control over, and/or receipt

and/or modification of the Trust’s allegedly materially misleading statements, and/or their

associations with the Fund which made them privy to confidential proprietary information

concerning the Fund, participated in the fraudulent scheme alleged herein.

       109.    Individual Defendants, who are the senior officers and/or directors, had actual

knowledge of the material omissions and/or the falsity of the material statements set forth above,

and intended to deceive Oak Financial and other investors, or, in the alternative, acted with

reckless disregard for the truth when they failed to ascertain and disclose the true facts in the

statements made by them or other personnel to members of the investing public, including Oak

Financial.

       110.    As a result of the foregoing, the market price of the Fund’s securities was

artificially inflated during the relevant time period that Oak Financial purchased shares on behalf

of the Account Holders. Oak Financial relied on the statements described above and/or the

integrity of the market price of the Fund’s securities during the relevant time period in

purchasing the Fund’s securities on behalf of the Account Holders at prices that were artificially

inflated as a result of the false and misleading statements of the defendants.

       111.    Had Oak Financial been aware that the market price of the Fund’s securities had

been artificially and falsely inflated by the defendants’ misleading statements and by the material



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adverse information which the defendants did not disclose and that the Fund was not going to

follow the valuation procedures which it represented would be utilized, it would not have

purchased the Fund’s securities on behalf of the Account Holders at the artificially inflated prices

that they did, or at all, and would not have retained such securities.

       112.    As a result of the fraudulent conduct alleged herein, Oak Financial and the

Account Holders have suffered damages in an amount to be established at trial.

       113.    By reason of the foregoing, the defendants are liable to Oak Financial for the

substantial damages which were suffered in connection with its purchases of the Fund’s

securities on behalf of the Account Holders.

       WHEREFORE, plaintiff demands judgment against defendants as follows:

       a)      Awarding compensatory damages in favor of plaintiff against all Defendants,

jointly and severally, for all damages sustained as a result of Defendants’ wrongdoing, in an

amount to be proven at trial, including interest thereon;

       b)      Awarding plaintiff its reasonable costs and expenses incurred in this action,

including counsel fees and expert fees;

       c)      Awarding rescission or a rescissory measure of damages; and

       d)      Awarding such other and further relief as this Court may deem just and proper.

Dated: New York, New York
       June 8, 2021
                                               ROSENFELD & KAPLAN, LLP


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